22-10910-shl        Doc 113       Filed 08/09/22 Entered 08/09/22 17:19:52                     Main Document
                                               Pg 1 of 4



UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------X
                                                               :
In re                                                          : Chapter 11
                                                               :
MADISON SQUARE BOYS & GIRLS CLUB,                              : Case No. 22-10910-shl
INC.1,
                                                               :
                           Debtor.                             :
                                                               :
---------------------------------------------------------------X

                                     CERTIFICATE OF SERVICE

    STATE OF CALIFORNIA                          )
                                                 )
    COUNTY OF SAN FRANCISCO                      )

         I, Patricia Jeffries, am over the age of eighteen years, am employed by Pachulski Stang

Ziehl & Jones LLP. I am not a party to the within action; my business address One Market

Plaza, Spear Tower, 40th Floor, San Francisco, CA 94105-1020.

         On August 9, 2022, in addition to service via the Court’s ECF system, I caused a true and

correct copy of the following documents to be served via electronic mail upon the parties set

forth on the service list annexed hereto as Exhibit 1:

      Motion of the Official Committee of Unsecured Creditors for Entry of an Order Pursuant
       to Bankruptcy Rule 2004 Authorizing Examinations and Production of Documents of
       Boys & Girls Clubs of America [Docket No. 109]; and

      Motion for Order Shortening Notice With Respect to Motion of the Official Committee of
       Unsecured Creditors for Entry of an Order Pursuant to Bankruptcy Rule 2004
       Authorizing Examinations and Production of Documents of Boys & Girls Clubs of
       America [Docket No. 110].




The last four digits of the Debtor’s federal tax identification number are 6792. The Debtor’s mailing address is 250
1

Bradhurst Avenue, New York, New York 10039.


DOCS_SF:107761.1 54162/004
22-10910-shl        Doc 113    Filed 08/09/22 Entered 08/09/22 17:19:52            Main Document
                                            Pg 2 of 4



         I declare under penalty of perjury, under the laws of the State of California and the

United States of America that the foregoing is true and correct.

Dated this 9th day of August, 2022.



                                                       /s/ Patricia Jeffries
                                                       Patricia Jeffries




                                                  2
DOCS_SF:107761.1 54162/004
    22-10910-shl      Doc 113   Filed 08/09/22 Entered 08/09/22 17:19:52        Main Document
                                             Pg 3 of 4



                                             EXHIBIT 1

           NAME                         NOTICE NAME                             EMAIL
ABRAHAM, WATKINS, NICHOLS,      ATTN AGOSTO & AZIZ;             INFO@ABRAHAMWATKINS.COM
SORRELS,                        MUHAMMAD S. AZIZ
BLEAKLEY PLATT & SCHMIDT, LLP   ATTN WILLIAM HARRINGTON,        WPHARRINGTON@BPSLAW.COM;
                                ADAM RODRIGUEZ                  ARODRIGUEZ@BPSLAW.COM
CHUBB GROUP                     ATTN ADRIENNE LOGAN, LEGAL      ADRIENNE.LOGAN@CHUBB.COM
                                ANALYST
COHEN & GRESSER LLP             ATTN DAVID F LISNER             DLISNER@COHENGRESSER.COM
CROWELL & MORING LLP            ATTN: GREGORY GENNADY           GPLOTKO@CROWELL.COM
                                PLOTKO
CROWELL & MORING LLP            ATTN: MARK D. PLEVIN            MPLEVIN@CROWELL.COM
CROWELL & MORING LLP            ATNN: RACHEL A. JANKOWSKI       RJANKOWSKI@CROWELL.COM
DUANE MORRIS LLP                ATTN: DREW S. MCGEHRIN,         DSMCGEHRIN@DUANEMORRIS.COM;
                                WENDY M. SIMKULAK
                                                                WMSIMKULAK@DUANEMORRIS.COM
GRANT & EISENHOFER, P.A.        ATTN BARBARA J. HART, IRENE     BHART@GELAW.COM; ILAX@GELAW.COM;
                                LAX, SAMANTHA BREITNER          SBREITNER@GELAW.COM
GRANT & EISENHOFFER P.A.        ATTN: GORDON Z. NOVOD           GNOVOD@GELAW.COM
HARNICK AND HARNICK, P.C.       ATTN ROBERT HARNICK             RHARNICK@HARNICKLAW.COM;
                                                                THARNICK@HARNICKLAW.COM
HERMAN LAW FIRM, PA             ATTN J. HERMAN, D. ELLIS, S.    JHERMAN@HERMANLAW.COM
                                MERMELSTEIN, JASON S.
                                SANDLER, ALEXANDRA SLATER
KUTAK ROCK LLP                  ATTN: MICHAEL A. CONDYLES,      PETER.BARRETT@KUTAKROCK.COM
                                PETER J. BARRETT
LEVY KONIGSBERG LLP             ATTN RENNER K. WALKER, COREY    INFO@LEVY-LAW.COM;
                                M. STERN, ANNA KULL,            CSTERN@LEVYLAW.COM;
                                MATTHEW J. SHOCK                RWALKER@LEVYLAW.COM;
                                                                AKULL@LEVYLAW.COM;
                                                                MSHOCK@LEVYLAW.COM
MARCOWITZ LAW FIRM              ATTN EDWARD L.C. MARCOWITZ      ED@MARCOWITZLAW.COM
MERSON LAW, PLLC                ATTN JORDAN K. MERSON,          JMERSON@MERSONLAW.COM;
                                GIOVANNA MABILE                 GMABILE@MERSONLAW.COM
OFFICE OF THE ATTORNEY          ATTN LETITIA JAMES, E.          ELENA.GONZALEZ@AG.NY.GOV;
GENERAL                         GONZALEZ & E.LYNCH              ELIZABETHM.LYNCH@AG.NY.GOV
PAUL, WEISS, RIFKIND,           ATTN: ALAN K. KORNBERG, ESQ.,   AKORNBERG@PAULWEISS.COM;
WHARTON & GARRISON LLP          ANDREW M. PARLEN, E.            APARLEN@PAULWEISS.COM;
                                JOHN, T WEBER, ESQ.             JWEBER@PAULWEISS.COM
PFAU COCHRAN VERTETIS           ATTN VINCENT T. NAPPO,          VNAPPO@PCVALAW.COM;
AMALA PLLC                      ANGELA DOUMANIAN                ADOUMANIAN@PCVALAW.COM
RAPHAELSON & LEVINE LAW         ATTN STEVEN GERSHOWITZ          SGERSHOWITZ@RLLAWYERS.COM
FIRM, P.C.
ROBINSON + COLE                 ATTN: LAWRENCE KLEIN            LKLEIN@RC.COM
    22-10910-shl         Doc 113   Filed 08/09/22 Entered 08/09/22 17:19:52         Main Document
                                                Pg 4 of 4



              NAME                         NOTICE NAME                               EMAIL
ROPES & GRAY LLP                   ATTN: G. GALARDI, A. DEVORE, U.   GREGG.GALARDI@ROPESGRAY.COM;
                                   EGEONUIGWE
                                                                     ANDREW.DEVORE@ROPESGRAY.COM;

                                                                     UCHECHI.EGEONUIGWE@ROPESGRAY.COM
SEEGER WEISS LLP                   ATTN STEPHEN A WEISS,             SWEISS@SEEGERWEISS.COM;
                                   MICHAEL ROSENBERG,                MROSENBERG@SEEGERWEISS.COM
                                   PHILIPPA RATZKI
SIDLEY AUSTIN LLP                  ATTN SAM NEWMAN, KEN              SAM.NEWMAN@SIDLEY.COM;
                                   KANSA, G. WEINER                  KKANSA@SIDLEY.COM;
                                                                     GWEINER@SIDLEY.COM
SILVER & KELMACHTER, LLP           ATTN SAMEER NATH                  SNATH@SILVERKELMACHTER.COM
SLATER SLATER SCHULMAN LLP         ATTN ADAM P. SLATER, LINC C.      ASLATER@SSSFIRM; LLEDER@SSSFIRM.COM
                                   LEDER
THE MARSH LAW FIRM, PLLC           ATTN JENNIFER FREEMAN, JAMES      KATIESHIPP@MARSH.LAW;
                                   MARSH, KATIE SHIPP, M. MABIE,     JENNIFERFREEMAN@MARSH.LAW;
                                   B. BERGER                         JAMESMARSH@MARSH.LAW;
                                                                     MARGARETMABIE@MARSH.LAW
THE OFFICE OF THE U.S. TRUSTEE     US FEDERAL OFFICE BUILDING        USTPREGION02.NYECF@USDOJ.GOV
                                                                     ANDREA.B.SCHWARTZ@USDOJ.GOV
THE SIMPSON TUEGEL FIRM            ATTN MICHELLE SIMPSON             MICHELLE@STFIRM.COM
                                   TUEGEL
UNITED STATES ATTORNEY'S           ATTN ANDREA B SCHWARTZ, ESQ       PETER.ARONOFF@USDOJ.GOV
OFFICE FOR SDNY                    & TARA TIANTIAN, ESQ
WEITZ & LUXENBERG                  ATTN JERRY KRISTAL                JKRISTAL@WEITZLUX.COM;
                                                                     INFO@WEITZLUX.COM
WILLIAMS CEDER LLC                 ATTN GERALD J. WILLIAMS, BETH     GWILLIAMS@WILLIAMSCEDAR.COM;
                                   G. COLE, SHAUNA L. FRIEDMAN       BCOLE@WILLIAMSCEDAR.COM;
                                                                     SFRIEDMAN@WILLIAMSCEDAR.COM




     DOCS_SF:107761.1 54162/004
